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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

  DAYTON AREA CHAMBER OF
  COMMERCE, et al.,
                  Plaintiffs,                            No. 3:23-cv-00156-MJN-PBS
                 v.                                        Judge Michael J. Newman
  XAVIER BECERRA, et al.,                            Magistrate Judge Peter B. Silvain, Jr.
                  Defendants.



     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL
                              AUTHORITY

       The April 29 opinion of the district court in Bristol Myers Squibb Co. v. Becerra, No. 23-

cv-3335 (D.N.J) (“BMS”), and Janssen Pharmaceuticals, Inc. v. Becerra, No. 23-cv-3818

(D.N.J)., should have no bearing on this Court’s decision in this case. See Dkt. 97 (Defendants’

notice of supplemental authority regarding BMS/Janssen); Dkt. 97-1 (BMS/Janssen slip op.

(“Op.”)). The BMS and Janssen cases, which are substantively identical to each other, have little

overlap with the claims raised in Plaintiffs’ suit, and the district court’s opinion does not grapple

with key issues and arguments presented here.

       First, the only “Fifth Amendment challenge” (Dkt. 97 at 1) that BMS and Janssen raised

was a Takings Clause claim. Although the government obscures the contrast with this case by

referring to that claim generically as a “Fifth Amendment” claim, id., Plaintiffs here did not raise

a Takings Clause claim; Plaintiffs raised a distinct claim under the Due Process Clause. Unlike

the Takings Clause claim in BMS and Janssen, which alleged a physical taking of property,

Plaintiffs’ due process claim challenges the lack of procedural safeguards for price-setting, such

as judicial review and statutory standards, under precedents such as Mathews v. Eldridge, 424



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U.S. 319 (1976), and Michigan Bell Telephone Co. v. Engler, 257 F.3d 587 (6th Cir. 2001). Not

surprisingly, given the lack of a due process challenge in BMS and Janssen, the opinion there did

not address Eldridge, Michigan Bell, or other important due process precedents.

       Second, BMS and Janssen did not challenge the constitutionality of the statute under the

Constitution’s separation of powers, the Excessive Fines Clause, or Congress’s enumerated

powers. The opinion thus does not address any of those claims raised by Plaintiffs here.

       Third, although BMS and Janssen raised a First Amendment challenge, the opinion did

not seriously engage with the argument that requiring manufacturers to use terms such as

“agreement” and “maximum fair price” is compelled speech that is unnecessary to the operation

of the IRA’s price controls. The opinion asserted that the IRA “agreements and negotiations” are

“incidental mechanisms the government is using to set those prices,” Op. 22, without explaining

why Congress needed to disguise price controls in the form of purported “agreements and

negotiations” in the first place or how terminology such as “maximum fair price”—which forces

manufacturers to mouth the government’s talking points—was merely “incidental” to (i.e., a

natural byproduct of) government price-setting. As Plaintiffs here have explained, the reality is

that the IRA is “‘more than a mine-run price regulation’” because it combines price controls with

unnecessary speech controls. Dkt. 90 at 53 (quoting Expressions Hair Design v. Schneiderman,

581 U.S. 37, 47-48 (2017)). Furthermore, while the court emphasized that “the terms that [BMS

and Janssen] object to are statutory terms of art,” Op. 23, Plaintiffs here have explained that “the

statutory definition” of a loaded term “cannot save” a compelled-speech requirement; otherwise,

there would “be no end to the government’s ability to skew public debate by forcing companies

to use the government’s preferred language.” Dkt. 90 at 54 (quoting Nat’l Ass’n of Mfrs. v. SEC,

800 F.3d 518, 529–30 (D.C. Cir. 2015)). And the BMS/Janssen court did not address Plaintiffs’



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argument here that, under Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205

(2013), the IRA “impermissibly seek[s] to regulate speech ‘outside the contours’ of the price-

control program.” Dkt. 90 at 55 (quoting Open Soc’y, 570 U.S. at 214–15); Dkt. 64 at 47–48.

       Finally, the BMS/Janssen opinion did not meaningfully grapple with the arguments that

the program is coercive or violates the unconstitutional conditions doctrine. Notably, the opinion

does not even mention National Federation of Independent Business v. Sebelius, 567 U.S. 519

(2012) (NFIB). In likening the IRA’s revolutionary new price-control program to ordinary

“Medicare reimbursement limits,” Op. 17, the opinion ignored NFIB’s distinction between

routine amendments to a federal healthcare program that do not change its fundamental nature

and laws that “‘transform’” the program so much as to create “‘in reality a new program,’” Dkt.

90 at 3, 41 (quoting NFIB, 567 U.S. at 581–85). As Judge Elrod of the Fifth Circuit recently

observed at oral argument in Nat’l Infusion Ctr. Ass’n v. Becerra: “This is not a challenge to

Medicare reimbursement, this is a challenge to a novel, unprecedented price-setting program in

an industry [where] the government is the 800-pound gorilla.” Oral Argument at 21:35–21:54,

No. 24-50180 (5th Cir. May 1, 2024). Moreover, the BMS/Janssen opinion simply accepted the

government’s view that manufacturers can bypass the 11-to-23-month statutory period for a

withdrawal to take effect, without analyzing whether CMS’s guidance can be reconciled with the

law. Op. 5 n.8; see Dkt. 90 at 49–50.

       In sum, the BMS/Janssen opinion should have no effect on this Court’s decision.




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 Dated: May 7, 2024                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2024, a true and correct copy of the foregoing Plaintiffs’
Response to Defendants’ Notice of Supplemental Authority was electronically filed with the Clerk
of Court using the CM/ECF system which will send notification to all counsel of record.

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